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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 RUBY FREEMAN and WANDREA' MOSS,                              No. 24-mc-00353-LJL

                               Plaintiffs,                    DECLARATION OF
                                                              KENNETH A. CARUSO IN
 v.                                                           OPPOSITION TO
                                                              PLAINTIFFS’ MOTION AND
 RUDOLPH W. GIULIANI,                                         OBJECTION REGARDING
                                                              CLAIM OF EXEMPTION
                               Defendant.                     [ECF 21-23]


       KENNETH A. CARUSO hereby declares, pursuant to 28 U.S.C. § 1746:

       1.      I am a member of the Bar of this Court and counsel for Defendant, Rudolph W.

Giuliani (“Defendant”), in this case.

       2.      I make this Declaration in opposition to Plaintiffs’ motion and objection, pursuant

to CPLR §§ 5222-a(d) and 5240, regarding Defendant’s claim of exemption from execution as to

funds held at Parkside Financial Bank and Trust (“Parkside”) [ECF 21-23].

       3.      Attached as Caruso Exhibit A is a document, entitled Entity Information, retrieved

from a publicly-available database maintained by the New York Department of State.

       4.      Attached as Caruso Exhibit B is a copy of the Parkside statement for the month of

May 2024.

       5.      Attached as Caruso Exhibit C is a copy of the Parkside statement for the month of

July 2024.

       6.      Attached as Caruso Exhibit D is a payroll report for Giuliani Communications

LLC.

       7.      Attached as Caruso Exhibit E is a copy of the Parkside statement for the month of

June 2024.



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       8.     Attached as Caruso Exhibit F is a copy of Defendant’s Amended Exemption

Claim Form regarding the account held at Parkside.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.

 Executed on October 1, 2024                          /s/ Kenneth A. Caruso
                                                     Kenneth A. Caruso
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                                                     Attorneys for Defendant,
                                                     Rudolph W. Giuliani




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